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                             Nebraska Court of Appeals Advance Sheets
                                  30 Nebraska Appellate Reports
                                                HODGEN v. HODGEN
                                                Cite as 30 Neb. App. 456



                                        Lisa A. Hodgen, appellant, v.
                                         Mark S. Hodgen, appellee.
                                                     ___ N.W.2d ___

                                         Filed January 11, 2022.   No. A-20-927.

                 1. Modification of Decree: Appeal and Error. Modification of a dis-
                    solution decree is a matter entrusted to the discretion of the trial court,
                    whose order is reviewed de novo on the record, and will be affirmed
                    absent an abuse of discretion by the trial court.
                 2. Modification of Decree: Child Support: Proof. A party seeking to
                    modify a child support order must show a material change in circum-
                    stances which (1) occurred subsequent to the entry of the original decree
                    or previous modification and (2) was not contemplated when the decree
                    was entered.
                 3. ____: ____: ____. The party seeking the modification has the burden
                    to produce sufficient proof that a material change of circumstances has
                    occurred that warrants a modification and that the best interests of the
                    child are served thereby.
                 4. Modification of Decree: Child Support. Among the factors to be con-
                    sidered in determining whether a material change of circumstances has
                    occurred are changes in the financial position of the parent obligated to
                    pay support, the needs of the children for whom support is paid, good
                    or bad faith motive of the obligated parent in sustaining a reduction in
                    income, and whether the change is temporary or permanent.
                 5. Modification of Decree: Alimony: Good Cause. An award of alimony
                    may be modified or revoked if the moving party can show good cause.
                 6. Modification of Decree: Child Support: Alimony: Good Cause. A
                    material change in circumstances in modification of child support cases
                    is analogous to the good cause standard articulated for modification of
                    alimony.
                 7. Modification of Decree: Child Support: Alimony. In the context of
                    child support and alimony modification, a complaint for modification
                    will be denied if the change in financial condition is due to fault or vol-
                    untary wastage or dissipation of one’s talents and assets.
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          Nebraska Court of Appeals Advance Sheets
               30 Nebraska Appellate Reports
                            HODGEN v. HODGEN
                            Cite as 30 Neb. App. 456
 8 Judgments: Words and Phrases. A judicial abuse of discretion
    requires that the reasons or rulings of the trial court be clearly unten-
    able insofar as they unfairly deprive a litigant of a substantial right and
    a just result.
 9. Modification of Decree: Child Support: Alimony. Where a party owes
    past due alimony or child support, the failure to pay must be found to be
    a willful failure in spite of an ability to pay before a request for modifi-
    cation of a decree may be dismissed on the basis of unclean hands.
10. Equity. Equity is not a rigid concept, and its principles are not applied
    in a vacuum, but instead, equity is determined on a case-by-case basis
    when justice and fairness so require.

  Appeal from the District Court for Lincoln County: Richard
A. Birch, Judge. Affirmed.
  James C. Bocott, of Law Office of James C. Bocott, P.C.,
L.L.O., for appellant.
  Lindsay E. Pedersen, Attorney at Law, P.C., L.L.O., for
appellee.
   Riedmann, Bishop, and Arterburn, Judges.
   Bishop, Judge.
                       INTRODUCTION
   Lisa A. Hodgen, now known as Lisa A. Pickett, appeals
from the order of the Lincoln County District Court modify-
ing a decree which dissolved her marriage to Mark S. Hodgen.
Lisa claims the district court abused its discretion in finding
that a material change in circumstances had occurred justify-
ing the reduction of Mark’s child support and alimony obliga-
tions. She also argues the district court abused its discretion in
reducing Mark’s support obligations over her claim of unclean
hands. We affirm.
                      BACKGROUND
          February 2018 Decree of Dissolution
  The parties’ marriage was dissolved by decree on February
27, 2018. The decree reflects that the parties were married in
1977, and at the time of divorce, Lisa was 57 years old and
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                       HODGEN v. HODGEN
                       Cite as 30 Neb. App. 456
Mark was 58 years old. Mark was ordered to pay $1,000 per
month as alimony to Lisa for a period of 180 months. Only
two of the parties’ children were affected by the decree; the
parties were awarded joint legal custody, and Lisa was awarded
physical custody. Mark was ordered to pay $1,405 per month
in child support to Lisa, which could be abated by 50 percent
in June, July, and August of each calendar year “so long as
[Mark] has the minor children for visitation for 28 days or
more during the summer.” Lisa appealed the decree, but in
case No. A-18-424, this court dismissed her appeal on July 12,
2018, for failure to file a brief.
                   Post-decree Proceedings
   On October 1, 2018, Mark filed an “Application and Affidavit
to Obtain Abatement of Child Support for Summer Visitation”
in the district court, alleging that he had exercised 33 days of
parenting time in the summer of 2018 and seeking a 50-percent
abatement of his child support obligation for the months of
June, July, and August in accordance with the February 2018
decree. Lisa objected to Mark’s requested abatement, claim-
ing that her living situation with the children could not afford
having Mark’s child support payments be halved. In an order
entered on December 20, the district court granted Mark a
50-percent abatement in his child support obligation for the
month of July, but the court denied his requests for abatement
for June and August. Mark appealed the December 20 order,
claiming the court erred in denying his request for abatement
for June and August. In Hodgen v. Hodgen, No. A-19-285,
2019 WL 6130934 (Neb. App. Nov. 19, 2019) (selected for
posting to court website), this court reversed the district court’s
order and remanded the matter with directions to grant Mark
the requested 50-percent abatement for the months of June,
July, and August 2018 in accordance with the terms of the par-
ties’ decree.
       January 2020 Complaint to Modify Decree
  On January 30, 2020, Mark filed a “Complaint to Modify
Decree” in the district court, alleging that the loss of his
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                      HODGEN v. HODGEN
                      Cite as 30 Neb. App. 456
employment and the corresponding decrease in his income
constituted a material change in circumstances justifying modi-
fication of his child support and alimony obligations. Trial took
place on September 10. Mark appeared with his attorney; Lisa
did not appear, but she was represented by her attorney.
   The evidence adduced at trial demonstrated that Mark had
been employed by Union Pacific for 18 years and that he
made approximately $95,000 in annual income. In September
2019, Mark was dismissed from his employment after an inter-
nal investigation and hearing; this dismissal stemmed from
Mark’s failure to properly complete employee risk assessments
despite his belief that he was properly completing them. Mark
appealed his dismissal through Union Pacific’s internal review
process, and his dismissal was upheld. Following the termina-
tion of his employment, Mark began looking elsewhere for
a job. He applied for several positions and found no success
until April 2020. Mark testified that he relied on his savings
to take care of his living expenses and that he had also cashed
out his life insurance policy and a “CD” purchased after the
parties’ divorce to help cover his expenses. Beginning in
October 2019, Mark began to receive “a little over $1,400 a
month” in unemployment. This period of unemployment lasted
until Mark found employment in April 2020. Mark subse-
quently left this job and began new employment in June. His
annual salary was approximately $57,000 at the time of trial
in September.
   While he was unemployed, Mark began missing payments
on his support obligations, and he continued to miss further
payments after he became employed in April 2020. The pay-
ment history reports for Mark’s alimony and child support
show that under the terms of the parties’ decree, Mark owed
$8,791.84 in unpaid child support and $12,190.06 in unpaid
alimony as of September 8, 2020. Mark did not dispute these
amounts at trial, and he testified that it would have been
“[i]mpossible” for him to pay his support obligations while
he was unemployed. He also expressed his belief that he
could not afford to pay much toward his support obligations
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             30 Nebraska Appellate Reports
                       HODGEN v. HODGEN
                       Cite as 30 Neb. App. 456
even after finding employment due to uncertainties in his liv-
ing situation.
               Order of Modification, October
                  2020 Motions, and Appeal
   On September 24, 2020, the district court entered an order
modifying Mark’s support obligations. At the time of the order,
one of the two children affected by the February 2018 decree
had attained the age of majority, and the court determined that
there had “been no change in the earning capacity of [Lisa]
since the decree was entered.” With respect to Mark’s loss of
employment and reduced income, the court found:
        It is undisputed that [Mark] was fired from his job with
     the Union Pacific Railroad for not properly preparing the
     required monthly risk assessments. However, it is equally
     clear that [he] did not voluntarily leave his job or reduce
     his earning capacity. The evidence is undisputed that
     he believed he was properly completing the risk assess-
     ments, and performing his job in the required manner.
     [Mark] did not want to leave his 28 [sic] year employ-
     ment with the railroad, and took every step he could to
     retain that employment. Obviously, . . . Union Pacific
     disagreed with his opinion regarding the manner in which
     he was completing the risk assessments, and was correct
     in its conclusion. However, that result is not dispositive of
     [Mark’s] complaint.
        Even though it was [Mark’s] actions that caused him
     to lose his job, he believed he was performing his job
     properly and he had no intention of violating his rules
     of employment, reducing his income, or dissipating his
     earning capacity. Additionally, after being fired he under-
     took a serious and consistent effort to regain his job
     with the railroad and when that failed to find alternate
     employment.
Based on Mark’s change of employment and loss of income,
the court found that modification of Mark’s child support
obligation was warranted because there was a material change
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                       HODGEN v. HODGEN
                       Cite as 30 Neb. App. 456
in circumstances occurring after the February 2018 decree
not contemplated when the decree was entered. This material
change in circumstances was also deemed to be good cause
to modify Mark’s alimony obligation. The court concluded
that “there was no bad faith motive” in Mark’s reduced level
of income, that the reduction did not result from “the mere
passage of time” or Mark’s “wrongdoing or voluntary dissi-
pation,” and that the change was permanent. Based on these
findings, the court ordered Mark to pay $750 per month in
alimony to Lisa and $797 per month in child support, with a
50-percent abatement of child support in August if Mark exer-
cised 28 consecutive days of his summer parenting time. The
order set March 31, 2020, as the effective date of modification
and also required Mark to maintain health insurance for the
minor child.
   Following the entry of the district court’s order, Mark filed a
“Motion to Reconsider, Alter or Amend Order” that requested
the court to set the date of modification back to January 1,
2020, and to further reduce his alimony obligation to $600 per
month. Lisa also filed a “Motion for New Trial” alleging that
the September 2020 order modifying Mark’s support obligation
was “not sustained by sufficient evidence” and was “contrary
to law.” Lisa also claimed that the district court’s order of
modification “did not address or make findings of fact con-
cerning [her] allegation of ‘unclean hands’ when the evidence
was undisputed that [Mark] had the ability to pay child support
and spousal support, yet intentionally elected not to pay sup-
port due.” Following a hearing held on October 19, the court
denied the parties’ respective motions in a journal entry entered
on December 7.
   Lisa appeals.
                 ASSIGNMENTS OF ERROR
   Lisa claims the district court abused its discretion in modify-
ing Mark’s child support and alimony, because Mark’s reduced
income was his own fault and thus could not be either a
material change in circumstances or good cause justifying
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                       HODGEN v. HODGEN
                       Cite as 30 Neb. App. 456
modification. She also claims the court abused its discretion
in modifying Mark’s support obligations over her claim of
unclean hands based on Mark’s failure to pay child support
and alimony.
                   STANDARD OF REVIEW
   [1] Modification of a dissolution decree is a matter entrusted
to the discretion of the trial court, whose order is reviewed de
novo on the record, and will be affirmed absent an abuse of
discretion by the trial court. Tilson v. Tilson, 307 Neb. 275, 948
N.W.2d 768 (2020).
                            ANALYSIS
                Modification of Child Support
                           and Alimony
   Lisa claims the district court abused its discretion in reduc-
ing Mark’s child support to $797 per month and alimony to
$750 per month. She claims that “[i]t is undisputed that [Mark]
was fired for wrongdoing” in that his dismissal was based upon
his failure to properly complete employee risk assessments.
Brief for appellant at 12. She argues that under Nebraska law,
Mark’s termination from his employment with Union Pacific
and his corresponding decreased income could not be a mate-
rial change in circumstances or good cause to warrant the
modification of his child support or alimony because Mark was
at fault for the loss of his employment.
   [2-6] A party seeking to modify a child support order must
show a material change in circumstances which (1) occurred
subsequent to the entry of the original decree or previous
modification and (2) was not contemplated when the decree
was entered. Fetherkile v. Fetherkile, 299 Neb. 76, 907 N.W.2d
275 (2018). The party seeking the modification has the burden
to produce sufficient proof that a material change of circum-
stances has occurred that warrants a modification and that
the best interests of the child are served thereby. Id. Among
the factors to be considered in determining whether a mate-
rial change of circumstances has occurred are changes in the
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                      HODGEN v. HODGEN
                      Cite as 30 Neb. App. 456
financial position of the parent obligated to pay support, the
needs of the children for whom support is paid, good or bad
faith motive of the obligated parent in sustaining a reduction
in income, and whether the change is temporary or permanent.
Id. Under Neb. Rev. Stat. § 42-365 (Reissue 2016), an award of
alimony may be modified or revoked if the moving party can
show good cause. It is well established that a “material change
in circumstances” in modification of child support cases is
analogous to the “good cause” standard articulated for modifi-
cation of alimony. Grahovac v. Grahovac, 12 Neb. App. 585,
680 N.W.2d 616 (2004).
   As the district court observed in its order, Mark’s termina-
tion from his position with Union Pacific was based upon
his employer’s conclusion that he was improperly completing
employee risk assessments as required by his position. The
court found that Union Pacific “was correct in its conclusion”
regarding Mark’s failure to properly complete these risk assess-
ments. Neither party disputes the court’s findings on the facts
of Mark’s termination from employment. Rather, the dispute
centers on the underlying nature of the actions that caused
Mark’s dismissal.
   [7] In the context of child support and alimony modifica-
tion, a complaint for modification will be denied if the change
in the movant’s financial condition is due to fault or voluntary
wastage or dissipation of one’s talents and assets. See Pope
v. Pope, 251 Neb. 773, 559 N.W.2d 192 (1997). Nebraska
appellate courts have addressed the issue of whether allega-
tions of changed employment status and reduced income that
stem from employment misconduct may serve as grounds for
modification of child support and alimony obligations. In Pope
v. Pope, 251 Neb. at 778, 559 N.W.2d at 196, the Nebraska
Supreme Court found that the ex-husband’s loss of employ-
ment and reduction in income was the result of his “own bad
act” of “fail[ing] to stay awake on the job.” The court reasoned
that in the absence “of some justifiable reason” for his falling
asleep at work, his loss of employment and reduced income
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                       HODGEN v. HODGEN
                       Cite as 30 Neb. App. 456
did not constitute good cause to justify the termination of his
alimony obligation. Id.    Following Pope v. Pope, supra, this court has applied these
principles in several circumstances. In Lambert v. Lambert, 9
Neb. App. 661, 617 N.W.2d 645 (2000), the former husband
failed multiple drug tests required by his employer and was
thereafter terminated from his employment. He sought modi-
fication of his child support and alimony, and the trial court
granted his motion and reduced his child support and alimony
obligations. This court, relying on Pope v. Pope, supra, con-
cluded that the district court abused its discretion in modify-
ing the former husband’s support obligations because he “was
essentially fired because he chose to use marijuana” and “did
this knowing that it would put his livelihood in jeopardy and
. . . affect his ability to meet his court-ordered financial obliga-
tions.” Lambert v. Lambert, 9 Neb. App. at 668, 617 N.W.2d
at 650. Due to this fault, we found that his change in employ-
ment status and income could not be a material change in cir-
cumstances or good cause, and we reversed the decision of the
district court.
    Similarly, in Grahovac v. Grahovac, supra, the former hus-
band resigned from his employment and incurred a reduction
to his income as a result. He subsequently motioned the trial
court to reduce his child support and alimony obligations based
upon that reduction in his income, and the district court granted
a reduction to both obligations. On appeal, this court found the
circumstances to be similar to those in Lambert v. Lambert,
supra, and determined that the record demonstrated his “res-
ignation or ‘early retirement,’ which reduced his income, was
due to . . . his alcoholism and his refusal to secure effective
treatment.” Grahovac v. Grahovac, 12 Neb. App. 585, 590, 680
N.W.2d 616, 622 (2004). This court concluded that because
the ex-husband’s employment “ended because of his continued
drinking” and “not from good cause,” he was not entitled to
reductions of his support obligations on that basis. Id. at 591,
680 N.W.2d at 622.
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                      HODGEN v. HODGEN
                      Cite as 30 Neb. App. 456
   In Murphy v. Murphy, 17 Neb. App. 279, 759 N.W.2d 710(2008), the former husband resigned from his employment as
a deputy sheriff and subsequently requested modification of
his child support and alimony obligations. The district court
granted reductions to both support obligations based upon his
reduced level of income. On appeal, this court found that the
former husband’s resignation was due to several instances of
misconduct that included, among other violations, coming to
work late, not coming to work at all, damaging a cruiser, fail-
ing to report an accidental firearm discharge, and possessing
canine training narcotics in his home. Based on this history
of misconduct and the evidence that the former husband was
given a choice to resign or be fired, we concluded that the
district court abused its discretion in reducing the former hus-
band’s support obligations because his resignation and reduced
income were the direct results of his pattern of employ-
ment misconduct.
   [8] Modification of a dissolution decree is a matter entrusted
to the discretion of the trial court, whose order is reviewed de
novo on the record, and will be affirmed absent an abuse of
discretion by the trial court. Tilson v. Tilson, 307 Neb. 275,
948 N.W.2d 768 (2020). A judicial abuse of discretion requires
that the reasons or rulings of the trial court be clearly unten-
able insofar as they unfairly deprive a litigant of a substantial
right and a just result. Hotz v. Hotz, 301 Neb. 102, 917 N.W.2d
467 (2018).
   While we are mindful of the precedent that guides our
review, we find the present case distinguishable from those
we have previously described. The misconduct described in
the prior cases entailed actions that were patent and obvious
violations, often willfully engaged in, of each former hus-
band’s respective rules of employment such that the former
husbands understood these actions were employment viola-
tions that would result in discipline up to and including dis-
missal. As the district court also noted, this was not true in
Mark’s case. Mark testified regarding his belief that he was
completing the risk assessments correctly in accordance with
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                      HODGEN v. HODGEN
                      Cite as 30 Neb. App. 456
the requirements of his employment, and the record neither
contradicts that belief nor indicates that Mark willfully caused
his loss of employment with Union Pacific. Two Union Pacific
employees who both had Mark as their foreman for approxi-
mately 10 years also testified favorably on Mark’s behalf,
noting that Mark took the risk assessments seriously and also
noting that Union Pacific no longer had the foreman position
which Mark had previously held. Based on the record, we find
Mark’s conduct distinguishable from that which the Nebraska
Supreme Court and this court have previously held to preclude
modification. Accordingly, we find that the district court did
not abuse its discretion in concluding that Mark’s lost employ-
ment and reduced income demonstrated a material change in
circumstances and good cause justifying the modification of
his child support and alimony.

                         Unclean Hands
   Lisa also claims that the district court abused its discretion
in failing to deny Mark’s complaint for modification on the
basis of his unclean hands. She argues that Mark “willfully and
intentionally refused to pay child and spousal support, despite
his clear ability to do so.” Brief for appellant at 14.
   [9] As applicable to complaints for the modification of
child support and alimony obligations, the Nebraska Supreme
Court has stated that in cases in which a party owes past due
alimony or child support, “the courts have generally held that
the failure to pay must be found to be a willful failure in
spite of an ability to pay before a request for modification of
a decree may be dismissed on the basis of ‘unclean hands.’”
Voichoskie v. Voichoskie, 215 Neb. 775, 777, 340 N.W.2d 442,
444 (1983) (Voichoskie I). See, also, Marr v. Marr, 245 Neb.
655, 515 N.W.2d 118 (1994); Voichoskie v. Voichoskie, 219
Neb. 670, 365 N.W.2d 467 (1985) (Voichoskie II); Richardson
v. Anderson, 8 Neb. App. 923, 604 N.W.2d 427 (2000).
   In its order modifying the decree, the district court did not
make an express finding as to whether the doctrine of unclean
hands barred any modification of Mark’s support obligations.
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                       HODGEN v. HODGEN
                       Cite as 30 Neb. App. 456
However, in its journal entry dated December 7, 2020, the
court denied Lisa’s “Motion for New Trial” in which she
claimed that the court failed to make a finding regarding her
“allegation of ‘unclean hands’ when the evidence was undis-
puted that [Mark] had the ability to pay child support and
spousal support, yet [he] intentionally elected not to pay sup-
port due.” Based on this journal entry, it is evident the district
court concluded the doctrine of unclean hands did not bar the
requested modification of Mark’s support obligations. In our de
novo review, we cannot say the court abused its discretion in
reaching that conclusion.
   The payment history reports for Mark’s child support and
alimony obligations indicate that prior to the termination of
his employment with Union Pacific, Mark was generally con-
sistent in paying both child support and alimony. While Mark
occasionally fell behind on these obligations, the accumu-
lated arrears during this period were generally not substantial.
However, the payment history report for Mark’s alimony obli-
gation indicates that after a payment of $931.41 on September
15, 2019, Mark paid only $0.94 in alimony to Lisa through
September 8, 2020. At that date, Mark’s alimony arrearage
under the parties’ decree of dissolution totaled $12,190.06.
   As for child support, Mark’s payments were sporadic after
his termination of employment in September 2019. The record
indicates that in the last third of 2019, Mark’s child sup-
port payments included $73.58 in September, $1,202.50 in
November, and $500 in December. In 2020, he paid $942.55 in
May, $1,405 in June, and $565.38 in August. By September 8,
2020, Mark’s child support arrearage under the parties’ decree
of dissolution totaled $8,791.84.
   Lisa directs our attention to the Nebraska Supreme Court
decisions in Voichoskie II, supra, and Marr v. Marr, supra,as analogous to the facts in the present case. In Voichoskie II,
the Nebraska Supreme Court noted that the former husband,
in addition to his poor history of child support payments
which had frequently “been forcibly extracted from him by
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                      HODGEN v. HODGEN
                      Cite as 30 Neb. App. 456
withholding or garnishment proceedings,” had “often been
content to live on unemployment and [had] not made a sub-
stantial effort to obtain employment at a salary equal to the one
he received at the time of the divorce.” 219 Neb. at 672, 365
N.W.2d at 469. In Marr v. Marr, the Supreme Court observed
that the former husband had, from the beginning of 1989 until
June 1991, made one child support payment of $200 in 1989
“when his income was almost $20,000,” two payments totaling
$315 in 1990 “when his income was $9,549,” and one payment
of $175 “in the first 6 months of 1991 . . . when his salary was
over $1,000 net per month.” 245 Neb. at 659-60, 515 N.W.2d
at 121.
   There is no dispute that Mark has not paid any meaningful
amount toward his alimony obligation and made only sporadic
payments of child support since September 2019. However,
prior to his dismissal, Mark was consistently paying both of
his support obligations, and we note that Mark made some
payments of child support even when he had not yet found
reemployment. Some of these payments were also close to
the full amount of child support required by the parties’
decree. The record shows that Mark made consistent efforts
to find employment after his dismissal from Union Pacific in
September 2019, and it was not until April 2020 that he found
success in his job search, albeit at a lesser income. Mark’s
bank account records demonstrate that, from September 2019
until September 2020, his end of month balance was at least
$2,000 and trended upward to over $3,000 after Mark found
reemployment, and his expenditures routinely included sev-
eral nonessential items such as liquor and dining out. Mark
also testified as to the uncertainty of his living situation
despite his employment status, stating that he believed he
could possibly need to move back in with his mother to make
ends meet.
   [10] In addition to the foregoing evidence in the record, we
further observe that the Nebraska Supreme Court has stated
that “[i]f the evidence shows that the petitioner is able to pay
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                      HODGEN v. HODGEN
                      Cite as 30 Neb. App. 456
the arrearage or is unable to pay through some intentional
conduct on his part, the doctrine of [un]clean hands may be
invoked to bar his claim for relief.” Voichoskie I, 215 Neb. at
779, 340 N.W.2d at 445 (emphasis supplied). Equity is not a
rigid concept, and its principles are not applied in a vacuum,
but instead, equity is determined on a case-by-case basis when
justice and fairness so require. Trieweiler v. Sears, 268 Neb.
952, 689 N.W.2d 807 (2004). While we do not ignore the
fact that Mark’s substantial arrearages accumulated due to his
choice not to pay child support and alimony, we likewise can-
not ignore the uncertain nature of his circumstances caused
by his reduced level of income and his attempts to pay child
support despite this uncertainty. In considering the record and
the balance of equities in this case, we cannot say the district
court abused its discretion in not barring Mark’s complaint for
modification under the doctrine of unclean hands.
                        CONCLUSION
  For the reasons set forth above, we affirm the district court’s
modification of Mark’s child support and alimony.
                                                   Affirmed.
